















 


&nbsp;



•&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; •&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;   •  
   •         •         •






MEMORANDUM OPINION

No. 04-08-00684-CV

PALISADES COLLECTION, LLC as Assignee of Providian Bank,
Appellant

v.

Tomika T. COLEMAN,
Appellee

From the County Court at Law No. 5, Bexar County, Texas
Trial Court No. 317727
Honorable David Rodriguez, Judge Presiding
&nbsp;
Opinion by: &nbsp;&nbsp;&nbsp;Marialyn Barnard, Justice
&nbsp;
Sitting: &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sandee Bryan Marion, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Rebecca Simmons, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Marialyn Barnard, Justice

Delivered and Filed:  September 9, 2009

AFFIRMED
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The sole issue presented in this appeal is whether the trial court abused its discretion in
granting death penalty sanctions against Palisades Collection, LLC.  Although Palisades concedes
that sanctions were warranted, Palisades asserts the sanctions imposed were excessive and should
have been assessed exclusively against Palisades’s attorney.  We affirm the trial court’s judgment.
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On September 7, 2006, Palisades sued Tomika T. Coleman alleging that she failed to pay
$1,451.18 in credit card debt.  On January 30, 2007, Coleman faxed Palisades requests for
disclosure.  The same day, Coleman faxed Palisades a request for dates to take the deposition of the
individual with Palisades most knowledgeable of the basis for the suit.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On February 16, 2007, Coleman faxed Palisades interrogatories.  On February 20, 2007,
Coleman faxed Palisades a second request for dates to take the deposition of the individual with
Palisades most knowledgeable of the matter.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 5, 2007, Coleman filed a counterclaim asserting Palisades’s claim was wholly
frivolous and alleging violations of the Federal Fair Debt Collection Practices Act, Texas Fair Debt
Collection Practices Act, and Texas Deceptive Trade Practices Act.  On March 6, 2007, Palisades
non-suited its claim.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 26, 2007, Coleman faxed Palisades a letter, noting Palisades’s responses to the
interrogatories were due on March 21, 2007, but no responses had been received.  The letter asked
Palisades for its status on the responses.  On April 4, 2007, Coleman faxed Palisades a letter in
response to a voicemail.  The letter acknowledged that Palisades had non-suited its claim but stated
that Coleman’s counterclaim remained pending.  The letter further stated that if Palisades failed to
respond to the interrogatories within seven days, Coleman would be forced to file a motion to
compel.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On April 12, 2007, Palisades filed a motion to reinstate its claim.  On April 17, 2007,
Coleman faxed  Palisades a letter with a proposed discovery control plan.  The letter contained a
third request for dates to take the deposition of the person from Palisades with the most knowledge
regarding the matter.  On May 10, 2007, the trial court denied Palisades’s motion to reinstate its
claim.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On May 14, 2007, Coleman faxed Palisades a letter requesting dates to take the deposition
of Marie Oliphant.  The letter noted that the deposition dates were previously requested, but no
response was received.  The letter stated that if no response was received, Coleman would notice the
deposition.  On July 20, 2007, Coleman faxed Palisades a letter noting Palisades failed to respond
to the request for dates and noticing Oliphant’s deposition.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 2, 2007, Coleman faxed Palisades additional discovery, including requests for
production, requests for admission, and interrogatories. The same day, Coleman faxed Palisades a
motion to compel responses to prior discovery requests.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 9, 2007, the trial court granted Coleman’s motion to compel discovery responses. 
Palisades was ordered to provide full and complete responses to certain discovery within ten days
from the date of the trial court’s order.  On August 20, 2007, Coleman faxed Palisades a letter
reminding Palisades of the trial court’s order and requesting the discovery responses.  On August 27,
2007, Oliphant failed to appear for the scheduled deposition.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 29, 2007, Coleman filed a motion for sanctions based on Palisades’s failure to
comply with the trial court’s discovery order.  On September 12, 2007, Coleman filed a motion for
partial summary judgment seeking to establish Palisades’s liability on Coleman’s claims based on
Palisades’s deemed admissions. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On September 14, 2007, the trial court granted Coleman’s motion for sanctions.  Although
Coleman proposed an order that would prevent Palisades from defending against Coleman’s claims,
the trial court struck through that language of the proposed order, and only required Palisades to pay
$1,000.00 as sanctions by September 28, 2007.  The trial court also granted Coleman’s motion to
compel discovery responses and ordered Palisades to pay $300.00 in attorney’s fees by September
28, 2007. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 3, 2007, Coleman faxed Palisades a letter reminding Palisades that the trial court
ordered it to respond to the discovery requests and pay $1,300.00 in sanctions.  On October 5, 2007,
Coleman filed another motion for sanctions, asserting Palisades had not responded to the discovery
or paid the sanctions.  On October 8, 2007, Palisades’s attorney sent Coleman’s attorney two checks
in the amounts of $1,000.00, and $300.00, respectively.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 12, 2007, the trial court signed an order granting Coleman’s motion for
sanctions.


  The order contained the sanctions previously proposed by Coleman for the September
14, 2007 order, preventing Palisades from defending against Coleman’s claims.  The trial court also
signed an order granting Coleman’s motion for partial summary judgment.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The cause was set for trial on November 5, 2007.  On November 5, 2007, the trial court
signed an agreed order granting a continuance and resetting the cause for trial on March 31, 2008.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 18, 2008, a hearing was held on Palisades’s motion for continuance.  Palisades’s
attorney requested the continuance because he was set for another trial in a case involving child
protective services.  In addition, Palisades’s attorney wanted additional time to have the sanctions
reconsidered.  The trial court granted the motion for continuance and reset the cause for trial on April
28, 2008.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On April 27, 2008, Palisades filed a motion to set aside the sanctions.  On April 28, 2008,
the trial court held a hearing and denied the motion.
Discussion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;“[W]hether an imposition of sanctions is just is measured by two standards.”  TransAmerican
Natural Gas Corp. v. Powell, 811 S.W.2d 913, 917 (Tex. 1991).  “First, a direct relationship must
exist between the offensive conduct and the sanction imposed.”  Id.  “Second, just sanctions must
not be excessive.”  Id.
A.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Direct Relationship
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;“A just sanction must be directed against the abuse and toward remedying the prejudice
caused to the innocent party, and the sanction should be visited upon the offender.”  Spohn Hosp.
v. Mayer, 104 S.W.3d 878, 882 (Tex. 2003).  “The trial court must attempt to determine whether the
offensive conduct is attributable to counsel only, to the party only, or to both.”  Id
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chris Carnohan was the attorney representing Palisades when the lawsuit was filed and when
the sanctions were imposed.  Carnohan testified that Palisades sent its accounts to Paragon Way for
servicing.  Carnohan stated that Paragon Way represented Palisades, and the matter was “set up” to
be “handled and conducted through Paragon Way.” In response to whether Palisades told Carnohan
that “it was okay to talk to Paragon Way about this matter on their [Palisades’s] behalf,” Carnohan
stated, “That was the way it was all set up, yes.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Although Carnohan testified that employees in his office were responsible for not responding
to the discovery, Carnohan also testified that he forwarded the motion to compel and orders to Trish
Baxter, Paragon Way’s in-house counsel, and she did not respond.  Carnohan stated, “We didn’t
have any communication from her.”  Although Carnohan’s office was able to speak with “other
litigation folks at Paragon Way,” they did not want to take on “the burden of responding” or
“instructing us in what to do.”  Carnohan stated, “So it all started hinging on Trish Baxter then.  And
– and we never were able to – to communicate with her.  We just basically had to disconnect.  We
couldn’t reach her and – and we couldn’t obtain any response from her.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Carnohan testified that Marie Oliphant is an employee who signs affidavits for Palisades and
who swore to Coleman’s indebtedness. When Carnohan was asked for a reason Oliphant did not
appear for her deposition, he stated, “I’m trying to remember if there was a – a conflict on her
schedule that prevented her appearance at that time.”  Carnohan admitted that the monetary sanctions
had been paid from Palisades’s trust account, and he told the client about the sanctions.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Based on the evidence presented, the trial court could have determined that Palisades elected
to delegate the handling of the legal matters involving Coleman’s account to Paragon Way.  The trial
court could further have determined that the failure by Paragon Way’s in-house counsel to
communicate with Carnohan contributed to the failure to respond to the discovery.  Accordingly, the
trial court did not err in determining that the offensive conduct was attributable to both Carnohan
and Palisades.
B.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Just Sanctions
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;“[A] sanction imposed for discovery abuse should be no more severe than necessary to satisfy
its legitimate purposes, which include securing compliance with discovery rules, deterring other
litigants from similar misconduct, and punishing violators.”  Spohn Hosp., 104 S.W.3d at 882. 
Courts must consider less stringent sanctions in determining whether lesser sanctions would fully
promote compliance.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record reflects that the trial court exhausted less stringent sanctions without success. 
“Two orders to compel discovery preceded the ultimate sanction and were not enough to produce
compliance.”  Paradigm Oil, Inc. v. Retamco Operating, Inc., 161 S.W.3d 531, 539 (Tex. App.—San
Antonio 2004, pet. denied).  The trial court’s imposition of monetary sanctions also failed to promote
compliance, and Palisades continued to engage in discovery abuse by failing to respond to the
discovery requests despite being ordered to respond by the trial court.  The trial court only imposed
the sanctions that precluded Palisades from presenting a defense after Palisades ignored two prior
court orders “in callous disregard for the responsibilities of discovery under the rules.” 
TransAmerican Natural Gas Corp., 811 S.W.2d at 918.  We hold, therefore, that the sanctions
imposed by the trial court were just.
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court’s judgment is affirmed.
Marialyn Barnard, Justice


